Case 0:20-cv-60416-AMC Document 110-7 Entered on FLSD Docket 08/13/2021 Page 1 of 6




                      EXHIBIT 101
Case 0:20-cv-60416-AMC Document 110-7 Entered on FLSD Docket 08/13/2021 Page 2 of 6
            Case 0:20-cv-60416-AMC Document 110-7 Entered on FLSD Docket 08/13/2021 Page 3 of 6




Document title: Anti-spoofing protection - Office 365 | Microsoft Docs
Capture URL: https://docs.microsoft.com/en-us/microsoft-365/security/office-365-security/anti-spoofing-protection?view=o365-worldwide
Capture timestamp (UTC): Tue, 10 Aug 2021 12:34:30 GMT                                                                                  Page 1 of 4
            Case 0:20-cv-60416-AMC Document 110-7 Entered on FLSD Docket 08/13/2021 Page 4 of 6




Document title: Anti-spoofing protection - Office 365 | Microsoft Docs
Capture URL: https://docs.microsoft.com/en-us/microsoft-365/security/office-365-security/anti-spoofing-protection?view=o365-worldwide
Capture timestamp (UTC): Tue, 10 Aug 2021 12:34:30 GMT                                                                                  Page 2 of 4
            Case 0:20-cv-60416-AMC Document 110-7 Entered on FLSD Docket 08/13/2021 Page 5 of 6




Document title: Anti-spoofing protection - Office 365 | Microsoft Docs
Capture URL: https://docs.microsoft.com/en-us/microsoft-365/security/office-365-security/anti-spoofing-protection?view=o365-worldwide
Capture timestamp (UTC): Tue, 10 Aug 2021 12:34:30 GMT                                                                                  Page 3 of 4
            Case 0:20-cv-60416-AMC Document 110-7 Entered on FLSD Docket 08/13/2021 Page 6 of 6




Document title: Anti-spoofing protection - Office 365 | Microsoft Docs
Capture URL: https://docs.microsoft.com/en-us/microsoft-365/security/office-365-security/anti-spoofing-protection?view=o365-worldwide
Capture timestamp (UTC): Tue, 10 Aug 2021 12:34:30 GMT                                                                                  Page 4 of 4
